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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


NORMAN NGUYEN,

               Plaintiff,                                    Hon. Richard Alan Enslen

v.                                                           Case No. 1:07-cv-00039

ROBERT LARION, et al.

            Defendants.
_____________________________________/



                              REPORT AND RECOMMENDATION


       On April 6, 2007, the Court entered an order setting a Rule 16 Scheduling Conference in this

matter for April 30, 2007. That same day, a copy of the order was sent to pro se Plaintiff Norman

Nguyen. On April 30, 2007, at the scheduled time for the conference, the court and counsel for

Defendant were present but Plaintiff did not appear. Nor did Plaintiff contact the court. After

waiting a significant amount of time, the court noted Plaintiff’s non-appearance on the record and

stated that a show cause order would issue.

       A show cause order was entered on May 2, 2007, setting a hearing for May 22, 2007, at

which Plaintiff was to show cause why his case should not be dismissed for want of prosecution and

failure to comply with the rules and orders of the Court. Also on May 2, 2007, a copy of the show

cause order was sent to Plaintiff Norman Nguyen. On May 22, 2007, at the scheduled time for the

conference, Plaintiff did not appear. Nor did Plaintiff contact the court. After waiting a significant

amount of time, the court noted Plaintiff’s non-appearance on the record and stated that a report and
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recommendation would issue that this matter be dismissed pursuant to Fed. R. Civ. P. 41(b) and

W.D.Mich. L.Civ.R. 41.1.

       As such, the undersigned hereby recommends that this matter be dismissed pursuant to Fed.

R. Civ. P. 41(b) and W.D.Mich. L.Civ.R. 41.1 for want of prosecution and failure to comply with the

rules and orders of this court. Timely objections to this Report and Recommendation shall be

considered Plaintiff’s opportunity to show cause why this matter should not be dismissed.


                                                       Respectfully submitted,


Date: May 22, 2007                                      /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



        OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court
within ten (10) days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure to file
objections within the specified time waives the right to appeal the District Court’s order. Thomas v.
Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947, 949-50 (6th Cir. 1981).




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